Case 1:24-cr-20560-DSL Document 29 Entered on FLSD Docket 04/24/2025 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 24-CR-20560


 UNITED STATES OF AMERICA

                v.

 RODERICK VANDERBILT

                   Defendant.
 ______________________________________

                     UNITED STATES’ NOTICE REGARDING VICTIMS

        The United States, through undersigned counsel, provides the following notice regarding

 victims in advance of the proceeding scheduled on April 25, 2025. In accordance with the

 government’s obligations under the Crime Victim Rights Act (“CVRA”), the government provided

 victims with reasonable, accurate, and timely notice of all public court proceedings. See 18 U.S.C.

 § 3771(a)(2); see also Fed. R. Crim. P. 60(a)(1). In addition, on April 3, 2025, the government

 conducted a conferral session with victims in this case in accordance with 18 U.S.C. § 3771(a)(5).

 During the conferral and thereafter, victims in this case have informed the government of their

 intent to exercise their right to be reasonably heard at the upcoming proceeding on April 25, 2025,

 pursuant to 18 U.S.C. § 3771(a)(4) and Fed. R. Crim. P. 60(a)(3). The government understands

 that two victims (S.V. and J.J.) may seek to exercise this right in person at the change of plea

 hearing on April 25, 2025. Additionally, pursuant to 18 U.S.C. § 3771(b)(1), the Court has made

 available a remote access line as a reasonable accommodation to victims who cannot attend the

 change of plea hearing in person to allow such victims to observe the proceeding. At least one



                                                 1
Case 1:24-cr-20560-DSL Document 29 Entered on FLSD Docket 04/24/2025 Page 2 of 3




 victim (K.R.) has expressed an intent to participate remotely and has provided written statements

 to the Court via email.

                                             Respectfully submitted,

                                             LORINDA I. LARYEA
                                             Acting Chief, Fraud Section
                                             Criminal Division
                                             U.S. Department of Justice

                                      By:    /s/ Lauren Archer
                                             Lauren Archer
                                             Trial Attorney
                                             Florida Special Bar No. A5502575
                                             United States Department of Justice
                                             Criminal Division, Fraud Section
                                             1400 New York Ave., NW
                                             Washington, DC 20005
                                             Tel: (202) 538-3859
                                             Email: Lauren.Archer2@usdoj.gov




                                                2
Case 1:24-cr-20560-DSL Document 29 Entered on FLSD Docket 04/24/2025 Page 3 of 3




                                 CERTIFICATE OF SERVICE

         I hereby certify that on April 24, 2025, the foregoing was filed via the CM/ECF electronic
 filing system and served on all counsel of record as described in Local Rule 5.4.


                                      By:     /s/ Lauren Archer
                                              Lauren Archer
                                              Trial Attorney
                                              Florida Special Bar No. A5502575
                                              United States Department of Justice
                                              Criminal Division, Fraud Section
                                              1400 New York Ave., NW
                                              Washington, DC 20005
                                              Tel: (202) 538-3859
                                              Email: Lauren.Archer2@usdoj.gov




                                                 3
